                    Case 1:23-cv-05880-LLS               Document 112        Filed 06/21/24        Page 1 of 1
AO 458 (Rev. 06/09) Appearance of Counsel


                                     UNITED STATES DISTRICT COURT
                                                                for the
                                                    Southern District
                                                  __________  DistrictofofNew York
                                                                           __________


                       City of New York                            )
                             Plaintiff                             )
                                v.                                 )      Case No.   23-5880-LLS
            Magellan Technologies, Inc., et al.                    )
                            Defendant                              )

                                                      APPEARANCE OF COUNSEL

To:       The clerk of court and all parties of record

          I am admitted or otherwise authorized to practice in this court, and I appear in this case as counsel for:

          Plaintiff the City of New York                                                                                      .


Date:          06/21/2024                                                                     /s/ Aatif Iqbal
                                                                                            Attorney’s signature


                                                                                          Aatif Iqbal #5068515
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